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                                                                                                        • '• '-•OURT
                 IN THE UNITED STATES DISTRICT COURT                                              11,' I ^
                  FOR THE SOUTHERN DISTRICT OF OHIO                                                          Pli /; p,
                          WESTERN DIVISION



WENDELL KENT FREEMAN                                 Case No.: 22-cv-00203

               Plaintiff,
                                                     Plaintiffs Response in Opposition
vs.                                                  to Defendants* Motion to Strike
                                                     Plaintiffs First Amended
                                                     Complaint
JONATHAN SPOLJARIC, in his
individual and oMcial capacities, and
LAWRENCE COUNTY, a county or
other recognized territorial division
                                                    Jury Trial Demanded Herein
within the state of Ohio


               Defendants,


                PLAINTIFFS' RESPONSE IN OPPOSITION TO
                   DEFENDANTS' MOTION TO STRIKE
                 PLAINTIFF'S FIRST AMENDED COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:


COMES NOW, Plaintiff, Wendell Kent Freeman, in propia persona, in the

above-titled cause, who hereby files this, his Response in Opposition to

Defendant's Motion to Strike his First Amended Complaint which plaintiff

filed in accordance with Rule 15(a)(1)(B). This action brought by plaintiff is

brought under U.S.C. Title 42 Section 1983 for civil rights violations specific to

his 1®S 4% and 14^^Amendment rights.




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                            I.     PROCEDURAL HISTORY

1.   Plaintiff Wendell Kent Freeman filed his Original Complaint with

incorporated Exhibits in this honorable court on 4/13/22, Dkt #1. Service was

affected and Defendants Jonathan Spoljaric and Lawrence County responded,

through counsel, with a Motion to Dismiss on 5/11/22, Dkt. #7.

2.   Defendants served upon Plaintiff their Motion to Dismiss and an answer

to Plaintiffs Original Complaint via regular first-class mail on this same date,

5/11/22,

3.   On 6/6/22, Plaintiff filed with the clerk of this court and made personal

service upon defendants' counsel his First Amended Complaint under FRCP

15(a)(1)(B), Dkt. mi.

4.   On 6/11/22, defendants through coimsel filed their Motion to Strike

Plaintiffs First Amended Complaint, Dkt. #i5, to which Plaintiff hereby files

his Response in Opposition.


                                     II.    ARGUMENT

5.   Plaintiff FREEMAN, since commencing this suit, has not and is not

signed-up on the courts ECF system, and therefore believes that completion of

service by defendants to plaintiff would be governed by Rule 5(b)(2)(C)

mailing of service.


1 FRCP 5 - Serving and Filing Pleadings and Other Papers - FRCP 5(b)(2)(C) "...mailing it to the
person's last known address—in which event service is complete upon mailing "


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6.    Defendants filed their Motion to Dismiss plaintiffs original complaint

relating to Rule 12(b)(6), through the courts ECF system on Wednesday, May

11, 2022. The Certificate of Service attests that this document was mailed to

the Plaintiff, but lists no date for the maihng, see DkL #7 - Certificate of

Service,

7.    Defendants, through counsel, certify that said motion to dismiss was

mailed to Plaintiff on 5/11/22, thereby completing service and, whereby, the

21- day response time for Plaintiff was activated and FRCP 15(a)(l)(B)2 would

be applicable.

8.    In calculating the time for Plaintiff to file his First Amended Complaint

per FRCP 15, plaintiff uses the completed service by mail date of Wednesday,

May 11, 2022 as the start date. The calculated response time of the 21®' day

after completed service date falls on Wednesday, June 1, 2022.

9.    Because service was affected by mailing to Plaintiff by Defendants' counsel

under FRCP 5, in addition to this 21-day response time prescribed per FRCP

15, Plaintiff is granted an additional 3-days to file this FIRST AMENDED

COMPLAINT per FRCP 6(d)3. In making a calculation of Plaintiff's time to file


^ FRCP 15 - Amended and Supplemental Pleadings - 15(a)(1)(B) - if the pleading is one
to which a responsive pleading is required, 21 days after service of a responsive pleading
or 21 days after service of a motion under Rule 12(b2, (e), or (f), whichever is earlier.

^ FRCP 6 - Computing and Extending Time: for Motion Papers - 6(d) - Additional
Time After Certain Kinds of Service. When a party may or must act within a specified
time after being served and service is made under Rule 5(b)(2)(C) (mail), (D) (leaving the



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his First Amended Complaint, his deadline would therefore be Saturday, June

4, 2022. Because the court is not open on this day, the next business day would

apply, extending the valid filing date to Monday, June 6, 2022, at the close of

the court's business day, in accordance with Rule 6(a)(1)(C)'*.

10. On Monday, June 6,2022, Plaintiff, in person, filed in this honorable court

his First Amended Complaint, Dkt #11, and then personally served the same

upon counsel for the defendants later that same day. Plaintiff thereby timely

made the filing and service of his First Amended Complaint under Rule

15(a)(1)(B).


                                   III.    CONCLUSION

11. Defendants filed their Motion to Dismiss plaintiff's original complaint

under Rule 12(b)(6) on 5/11/22. Counsel for defendants allege that they mailed

a copy of the same to plaintiff this same date and thereby completed service

per FRCP 5(b)(2)(C).




clerk), or (F) (other means consented to), 3 days are added after the period would
otherwise expire under Rule 6(a).
^ FRCP 6 - Computing and Extending Time: for Motion Papers - FRCP 6(a)(1)(C)-
"... include the last day of the period, but if the last day is a Saturday, Sunday, or legal
hoUday, the period continues to run until the end of the next day that is not a Saturday,
Sunday, or legal hohday."



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12. Defendants, when calculating the time for plaintiff to file any response or

reply to said filing in accordance with Rule 6(a), failed to calculate the

additional 3 days added to the timeline as provided for under Rule 6(d).

13. Plaintiff filed his First Amended Complaint on Monday, June 6, 2022.

Plaintiff, in good faith, believes that this filing was completed timely and as

directed by and in accordance with the designated Rules.


WHEREFORE, in light of the foregoing. Plaintiff hereby prays that

defendants Motion to Strike Plaintiffs First Amended Complaint be denied, by

this honorable court.




                                                   Wendell Kent Freeman
                                                   1392 County Rd. 1
                                                   Southpoint, OH 45680
                                                   Email:
                                                   In Proper Person




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                       CERTIFICATE OF SERVICE


I, Kent Freeman, Plaintiff in this matter, hereby certify that a copy of the

foregoing document. Plaintiffs Response in Opposition to Defendant's Motion

to Strike Plaintiffs First Amended Complaint, was filed in this honorable

court in person on, June 16, 2022. and that a copy of the same was personally

served this same day upon:


Randall Lee Lambert, and
Cassaundra L. Sark
215 S. 4^^ Street
P.O. Box 725
Ironton, OH. 45638
(740) 532-4333
Email: R.lambert@lambert-law.org

ATTORNEYS FOR DEFENDANTS:
Jonathan Spoljaric
Lawrence County




                                        Wendell Kent Freeman
                                        Plaintiff, Pro Se
